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The following constitutes the ruling of the court and has the force and effect therein described.




Signed September 24, 2021
______________________________________________________________________



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

     ------------------------------------------------------------
     In re                                                        §       Chapter 11
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1 §                               Case No. 19-34054-sgj11
                                                                  §
                                         Debtor.                  §
     ----------------------------------------------------------- §
     UBS SECURITIES LLC AND UBS AG                                §       Adversary Proceeding
     LONDON BRANCH,                                               §
                                                                  §       No. 21-03020
                             Plaintiffs,                          §
                                                                  §
     vs.                                                          §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                                  §
                                         Defendant.               §
     -----------------------------------------------------------

                            ORDER DENYING UBS’S MOTION
                   FOR EXPEDITED HEARING ON FOREIGN NON-PARTY
             SENTINEL REINSURANCE, LTD.’S MOTION FOR PROTECTIVE ORDER




     1
              The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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       Upon consideration of UBS’s Motion for Expedited Hearing on Foreign Non-Party

Sentinel Reinsurance, Ltd.’s Motion for Protective Order [Adv. Dkt. No. 110] (the “Motion to

Expedite”) and Foreign Non-Party Sentinel Reinsurance, Ltd.’s Opposition to Plaintiffs’ Motion

for an Expedited Hearing [Adv. Dkt. No. 111]; and it appearing that this Court has jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this proceeding is a

core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that venue of this proceeding and

the Motion to Expedite is proper in this District pursuant to 28 U.S.C. §§ 1408-1409; and due,

adequate, and sufficient notice of the Motion to Expedite having been given; and having

determined that the relief requested is not warranted at this time, it is hereby ORDERED:

       1.      The Motion to Expedite is DENIED.

       2.      The hearing on Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion for

Protective Order will occur as scheduled in the Notice of Hearing on Foreign Non-Party Sentinel

Reinsurnce, Ltd.’s Motion for Protective Order [Adv. Dkt. No. 107].

                                     ### End of Order ###
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Order prepared by:

 LATHAM & WATKINS LLP

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